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IN THE UNITED sTATEs DISTRICT CoURT

 

FOR THE WESTERN DISTRICT OF TENNESSEE.RGBEH-]- p__ ___Jt_ --.[;-;OM@
WESTERN DIVISION Ct,t€t?i<`__=.:§ls. {X:l_:§§'t. QT.
W.[.`), O`i'~ la`-l‘ iu‘.r;T\/SF‘I‘JS
CYNTHIA D. NICHOLS,
Plaintiff,
vs. Case No. 04-2044-MI P

E. W. JAMES & SONS, INC. and/or
E. W. JAMES & S()NS, INC./EXCEL,

\_’\_J\_J\_J\_¢’W\»/\-i\_/\_d'

Defendants.

 

ORDER OF DISMISSAL WITH PREJUDICE

 

Pursuant to Rule 4l(a) of the Federal Rules of Civil Procedure, it appearing to the Court,
upon consent of the parties as evidenced by the signatures of their attorneys hereinbelow, that
Plaintiff Cynthia D. Nichols and Defendant E. W. James & Sons, lnc. and/or E. W. James &
Sons, Inc/EXcel, have settled this case and that by the parties’ agreement Plaintiff Nichols’
claims as set forth in her complaint should be dismissed With prejudice and each party should
bear her or its’ own costs and fees.

IT IS, THEREFORE, ORDERED that Plaintiff Nichols’ claims as set forth in the

complaint are dismissed in their entirety With prejudice and further that each party shall bear her

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. S. D STRICT COURT JUDGE

or their own costs and fees.

 

DATE: /V\A§/KS_ l,.20©5'

 

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APPROVED:

/ll\» "~~'QCj )L\.

RON WOODRUFF, ESQ.
Counsel for Plai_ntiff Cynthia D. Nichols

jW"(/WM mw

PA"UL`HPRATHER

SYLV R. ADAMS

Attorneys for Defendants

E. W. James & Sons, Inc. and/or
E. W. J ames & Sons, ]nc/Excel

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Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CV-02044 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

